Case 5:18-cv-01106-JVS-RAO Document 77 Filed 09/25/20 Page 1 of 2 Page ID #:404



   1

   2

   3

   4

   5

   6

   7

   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10

  11   MIKE TAITUAVE,                             Case No. EDCV 18-01106 JVS (RAO)
  12                       Plaintiff,
  13          v.                                  ORDER ACCEPTING REPORT AND
                                                  RECOMMENDATION OF UNITED
  14   NEIL McDOWELL, et al.,                     STATES MAGISTRATE JUDGE
  15                       Defendants.
  16

  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the entire record in this
  18   action and the attached Report and Recommendation of United States Magistrate
  19   Judge (“Report”). No objections to the Report have been filed. Good cause
  20   appearing, the Court concurs with and accepts the findings of fact, conclusions of
  21   law, and recommendations contained in the Report.
  22         IT IS ORDERED that defendants’ motion to dismiss the Second Amended
  23   Complaint is granted in part and denied in part as follows:
  24         (a)    plaintiff’s claims against Rossolillo, Messerli, Briones, Coon, Steele,
  25                Navarro, Abril, and Pierce should be dismissed with prejudice;
  26         (b)    plaintiff’s claims against Wilson should be dismissed with prejudice
  27                except for plaintiff’s claims that Wilson violated his Eighth
  28                Amendment rights by (i) confining him in the hot van; and (ii)
Case 5:18-cv-01106-JVS-RAO Document 77 Filed 09/25/20 Page 2 of 2 Page ID #:405



   1              restraining and confining him in the visiting room;
   2        (c)   plaintiff’s claims against Allen should be dismissed with prejudice
   3              except for plaintiff’s claim that Allen violated his Eighth Amendment
   4              rights by restraining and confining him in the visiting room;
   5        (d)   plaintiff’s First Amendment claims should be dismissed with
   6              prejudice;
   7        (e)   plaintiff’s due process and Eighth Amendment claims based on the
   8              strip search should be dismissed with prejudice;
   9        (f)   plaintiff’s claim that Vasquez violated his due process rights by
  10              issuing a false RVR should be dismissed with prejudice;
  11        (g)   defendants should be denied qualified immunity at this time; and
  12        (h)   the Motion should be denied in all other aspects.
  13

  14

  15   DATED: September 25, 2020
  16

  17
                                            JAMES V. SELNA
                                            UNITED STATES DISTRICT JUDGE
  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28

                                               2
